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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHEASTERN DIVISION

AMBER TURNER,                             )
                                          )
      Plaintiff,                          )   CIVIL ACTION NO.:
                                          )   ___________________
vs.                                       )
                                          )
MJTV, LLC d/b/a JIMMY’S                   )
LOUNGE; JAMES M. HOLT,                    )
And MICHAEL HOLT,                         )
                                          )
      Defendants.                         )

                                  COMPLAINT

      Amber Turner states the following as her Complaint against MJTV, LLC,

d/b/a/ Jimmy’s Lounge (“Jimmy’s”), James M. Holt; and Michael Holt.

                              I. INTRODUCTION

      Amber Turner was an exotic dancer/entertainer at an establishment known as

Jimmy’s Lounge in Madison County, Alabama. This is a claim brought under the

Fair Labor Standards Act, 29 U.S.C. § 201, et.seq. [“FLSA”] for failure to pay a

minimum wage.

      Defendants willfully engaged in a pattern, policy and practice of unlawful

conduct for the actions alleged in this Complaint. Defendants willfully failed to pay

Plaintiff the minimum wage she was entitled to under applicable federal laws.

Additionally, Defendants engaged in unlawful tip splitting by requiring dancers to
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split and share gratuities given to them by patrons with their non-tipped employees,

including bouncers and disc jockeys.

      Plaintiff brings this action seeking damages, back pay, restitution, liquidated

damages, civil penalties, prejudgment interest, reasonable attorneys’ fees and costs,

and any and all other relief that the Court deems just, reasonable and equitable in the

circumstances.

                        II. JURISDICTION AND VENUE

      1.       This Court has subject-matter jurisdiction over Plaintiff’s FLSA claims

pursuant to 28 U.S.C. § 1331 because Plaintiff’s claims raise a federal question under

29 U.S.C. § 201, et seq.

      2.       Jimmy’s annual sales exceed $500,000, and it employs more than two

persons in commerce, so the FLSA applies. 29 U.S.C. § (s)(1)(A)(i)-(ii).

      3.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

the actions and omissions giving rise to the claims pled in this Complaint

substantially occurred in this District.

                                   THE PARTIES

      4.       Amber Turner is a resident of Jefferson County, Alabama, and is over

the age of nineteen (19). Amber Turner has worked as an exotic dancer at Jimmy’s

from 2011 to the present. She worked there consistently from January 2017, to April

of 2019.
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      5.       Ms. Turner was: (1) misclassified as an independent contractor and as

a result, was not paid the wages she was entitled to as an employee; (2) she was

required to split income with Defendant as described more fully below.

      6.       MJTV, LLC d/b/a Jimmy’s is a business entity operating as a lounge

and nightclub featuring exotic dancer entertainment in Madison County, Alabama.

As explained below, MJTV, LLC, is a successor to JAH, LLC, which operated

Jimmy’s until sometime after 2017.

      7.       Jimmy’s intentionally and with knowledge of the law prohibiting the

practice, classified exotic dancers as independent contractors, as opposed to

employees. This was done solely to avoid paying them minimum wage, as required

under the FLSA.

      8.       James M. Holt is an individual, over the age of nineteen (19) years,

residing in Madison County, Alabama, who at all pertinent time directed, in concert

with his son, Michael Holt, the terms and conditions of employment for exotic

dancers at Jimmy’s.

      9.       Michael Holt is an individual, over the age of nineteen (19) years,

residing in Madison County, Alabama.




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                        IV. FACTUAL ALLEGATIONS

             A.    Facts Relating To Liability of James and Michael Holt.

      10.    James and Michael Holt (collectively “the Holts”), at all times pertinent

to the case, dominated the operation of Jimmy’s. The Holts set and enforced all

policies with regard to the terms and conditions of employment for exotic dancers.

      11.    The Holts set each policy related below regarding work hours, tip-outs,

payment for private dances, and any other requirements of exotic dancers at

Jimmy’s.

      12.    Prior to MJTV’s creation and taking over control of Jimmy’s, it was

operated, nominally, by JAH, LLC. However, the corporate entity was largely

disregarded as the Holts regularly took large payments from the business.

      13.    In March of 2019, the Holts caused JAH, LLC, to be dissolved.

However, very little changed with regard to the actual operation of Jimmy’s. The

business was then nominally ran by another corporate entity, but the Holts continued

to dominate its operation, just as they had always done.

      14.    The Holts caused the dissolution of JAH, LLC, however, they

continued to run the business nominally through another corporation, MJTV, LLC

(“MJTV”).

      15.    MJTV is liable to Plaintiff for Ms. Turner’s FLSA claims as the

successor to JAH, LLC.
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      16.    MJTV is liable as the successor to JAH, LLC, for the principal reasons

set forth below.

      17.    First, there is substantial continuity between the operations of Jimmy’s

under JAH, LLC, and MJTV. Mr. Holt and the management team at Jimmy’s,

largely his family, have continued to own the business entities nominally designated

as running Jimmy’s, and nothing, operationally, changed upon the dissolution of

JAH, LLC, and the creator of MJTV for the purposes of operating Jimmy’s.

      18.    In fact, as recently as September 1, 2019, the Jimmy’s Facebook page

said, “Attention: I know there’s been rumors floating around. Here is the truth.

Jimmy’s is not being sold and has not been sold. It is still under the same ownership

and management. Jimmy’s has been under the same family for 30 years and it will

always be that way.”      Jimmy’s management itself admits to a continuity of

ownership.

      19.    There is certainly also notice to MJPV of the practices of JAH, LLC.

These are the same people. Moreover, JAH, LLC, settled a lawsuit brought by exotic

dancers under the same theories Ms. Turner brings, and was well aware of the

liability it had for continuing the same unlawful practices.

      20.    Lastly, MJTV can provide relief in this case as it is, for all intents and

purposes, the same as JAH, LLC. It has no more and no less ability to provide relief

to Ms. Turner than JAH, LLC, because they are the same business with the same
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location, physical assets, capital structure, work force, management structure, and

management initiatives and practices as JAH, LLC.

      21.    Not only does MJTV have FLSA liability as the successor to JAH,

LLC, but James Holt is liable, individually, to Ms. Turner, as an employer as that

term is defined under 29 U.S. C. § 203(d).

      22.    The Holts are, and have been at all times relevant to this action, in a

position to control the work activities of Ms. Turner and the other exotic dancers at

Jimmy’s. The Holts at all times had the power to, and did on occasion, hire and fire

exotic dancers at Jimmy’s. The Holts, at all pertinent times, made the management

decisions regarding exotic dancers in implementing and enforcing the hours, work

schedules, and working conditions of the exotic dancers outlines herein.

      23.    The Holts determined how exotic dancers such as Ms. Turner would be

paid, and how tip-outs and dance fees would be split and accounted for. Finally, the

Holts maintained what employment records were kept at Jimmy’s.

      24.    In short, the Holts directed all of the terms and conditions of Ms.

Turner’s employment.

      B.     Facts Relating To Working Conditions For Exotic
             Dancers at Jimmy’s.

      25     Plaintiff has been intentionally misclassified by Jimmy’s as an

independent contractor.

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      26.       Plaintiff has not been paid a minimum wage by Jimmy’s.

      27.       No exception to the FLSA applies to Plaintiff.

      28.       At all relevant times, Jimmy’s directly and indirectly exercised

significant control over the wages, hours, and working conditions of Plaintiff.

      29.       Plaintiff incurred financial loss, injury and damage as a result of

Jimmy’s business practice of misclassifying her as an independent contractor and

failing to pay her a minimum wage.

      30.       Plaintiff generated her income solely through the monies she received

from customers when she performed exotic dances.

      31.       All monies that Plaintiff received from customers in the performance

of exotic dances were, as described below, either tips or service fees. In either case,

as described below, Jimmy’s had no right to keep any portion of them. These

payments were given by patrons directly to and/or solely for services performed by

Plaintiff and therefore, it considered tips, belong to Plaintiff, not Jimmy’s.

      32.       The payments Plaintiff received from patrons in relation to exotic

dances were not taken into Defendant’s gross receipts, with a portion then paid out

to Plaintiff.    Defendant does not issue W-2 forms, 1099 forms or any other

documents to the Plaintiff indicating any amounts being paid from their gross

receipts to the Plaintiff as wages.


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      33.   Plaintiff was considered a tipped employee, as she was engaged in an

occupation in which they customarily and regularly receive more than $30 a month

in tips, if dance fees are considered tips. No tip credits offsetting any minimum

wages due, however, are permitted. Therefore, Plaintiff is entitled to: (i) minimum

wages for all work performed; and (ii) the full amount of any monies given to her

by customers for the performance of exotic dances.

      34.   Jimmy’s misclassification of Plaintiff was specifically designed to deny

her fundamental rights as an employee to receive minimum wages, to demand and

retain portions of tips given to her by customers, and to enhance Jimmy’s profit

margin at the expense of Ms. Turner and the other dancers.

      35.   Jimmy’s misclassification of Plaintiff was willful.

      36.   Jimmy’s knew or should have known that Plaintiff was improperly

misclassified as an independent contractor.

      37.   The determining factor as to whether Plaintiff is an employee or

independent contractor under FLSA is not the workers’ or employees’ election,

subjective intent, or any contract. Rutherford FoodCorp. v. McComb, 331 U.S. 722,

727 (1947). Rather, the test for determining whether an individual is an “employee”

under the FLSA is the economic reality test. Under the economic reality test,

employee status turns on whether the individual is, as a matter of economic reality,

in business for themselves and truly independent, or rather is economically
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dependent upon finding employment in others.           In this case, dependent upon

Jimmy’s to make a living.

      38.    Workers cannot “elect” to be treated as employees or independent

contractors under threat of adverse treatment. Nor can workers agree to be paid less

than the minimum wage. Despite this, Jimmy’s unfairly, unlawfully, fraudulently

and unconscionably coerced Plaintiff to waive her statutory rights and elect to be

treated as independent contractor.

      39.    Under the applicable test, courts utilize several factors to determine

economic dependence and employment status. They are: (1) the degree of control

exercised by the alleged employer, (ii) the relative investments of the alleged

employer and employee, (iii) the degree to which the employee’s opportunity for

profit and loss is determined by the employer, (iv) the skill and initiative required in

performing the job, (v) the permanency of the relationship, and (vi) the degree to

which the alleged employee’s tasks are integral to the employer’s business.

      40.    The totality of circumstances surrounding the employment relationship

between Defendant and Plaintiff establishes economic dependence by Plaintiff on

Defendant and employee status. Here, Plaintiff was not in business for herself and

truly independent, but rather was economically dependent upon finding employment

with Defendant. Plaintiff did not engage in an occupation or business distinct from

that of Jimmy’s. To the contrary, Plaintiff and the other dancers were and are the
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basis for Jimmy’s business. Without exotic dancers, Jimmy’s cannot exist as a

“Gentlemen’s Club.”

      41.    Jimmy’s obtains the customers who seek out exotic dance

entertainment and provides the workers who conduct the exotic dance services.

Jimmy’s retains pervasive control over the Club’s operations as a whole, and

Plaintiff and the other dancers’ duties are an integral part of those operations.

      B.     Degree of Control Exercised by Defendant.

      42.    Plaintiff and the other dancers do not exert control over any meaningful

part of Jimmy’s operations, and do not stand as separate economic entities from

Jimmy’s. Defendant exercises control over all aspects of the working relationship

with Plaintiff and the other dancers at the Club.

      43.    Plaintiff’s economic status is inextricably linked to conditions over

which Jimmy’s has complete control, including but not limited to, advertising and

promotion, the atmosphere and surroundings at the club, the flow of customers into

the club, and the customer volume.

      44.    Jimmy’s employs guidelines and rules dictating the way in which

Plaintiff and the other dancers must conduct themselves while working. These

guidelines include, but are not limited to:

             a.     Requiring the dancers to report for work at specific
                    times, and stay specific hours. If the dancers left
                    early, they would be forced to pay the club extra;
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             b.     Requiring a particular number of shifts per week;
             c.     Setting the prices of private dances;
             d.     Controlling when the dancers will be on stage; and
             e.     Approval of wardrobe.

      45.    Jimmy’s controls the conduct of dancers while at work, including how

dances are to be performed. How often the dancers are to be on stage performing,

and requiring dancers to mingle with patrons in a manner which supports

Defendant’s general business plan, but to no benefit of the dancers.

      46.    Jimmy’s requires dancers to literally pay management a fee to work

there. They also must pay pre-determined “tip-outs” to non-tipped employees such

as bouncers, managers and disc jockeys. The amounts fluctuated, seemingly at the

whim of the manager on duty. One thing remained constant, however; the dancers

had to pay these non-tipped employees to work there, or they would be fired.

      47.    Jimmy’s requires that shifts commence at particular times for a

minimum number of hours. For example, Jimmy’s requires dancers to report to

management at the beginning and end of each shift. If a dancer is late or absent for

a shift or does not appear timely for her dance on stage, a dancer is subject to a

monetary penalty.

      48.    Dancers are required to complete the entirety of their shifts, and are not

permitted to leave early without penalty. In the event the dancer leaves a shift early,

she is subjected to a monetary fine.

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       49.     Jimmy’s imposes other penalties on dancers related to maintaining their

weight and other certain aspects of their physical appearance.

       50.     One element of a dancer’s job is performing private exotic dances in a

VIP room. Jimmy’s, not the dancers, establishes a minimum rate per song that

dancers must collect from patrons when performing exotic dances in the VIP room.

Jimmy’s then imposes a charge, usually $5.00, for each dancer to use the VIP room

in performance of an exotic dance. She must “tip-out” the payment at the end of

each dance. The “tip-out” charges for the VIP room would increase as the time a

patron spent in the VIP room increased.

       C.      Facts Negating Skill and Initiative of a Person in Business for
               Themselves.

       51.     Plaintiff did not exercise the skill and initiative of a person in business

for herself.

       52.     Plaintiff was not required to have any specialized or unusual skills to

work, and the skills utilized in performing exotic dances are commensurate with

those exercised by ordinary people.

       53.     Plaintiff did not have the opportunity to exercise the business skills and

initiative necessary to elevate her status to that of independent contractors as she

owned no enterprise, nor did she maintain separate business structures or facilities.



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      54.     Plaintiff had no control over customers, nor did she actively participate

in any efforts to increase Jimmy’s client base, profit, or to improve business in any

capacity.

      55.     A dancer’s own initiative is limited to wardrobe, which is itself subject

to final approval by Jimmy’s, and how provocatively to dance, actions both of which

are consistent with the status of an employee as opposed to an independent

contractor.

      56.     Plaintiff was not permitted to hire or subcontract other qualified

individuals to provide additional dances to patrons, and increase their revenue, as an

independent contractor in business for themselves would have the authority to do.

      D.      Facts Establishing Relative Investment.

      57.     Plaintiff’s relative investment is minor when compared to the

investment made by Jimmy’s.

      58.     Plaintiff made no financial investment in facilities, advertising,

maintenance, sound system and lights, food, beverage and other inventory. All

capital investment and risk belongs to Jimmy’s.

      59.     Plaintiff’s investment is limited to expenditures on wardrobe and make-

up. Absent Jimmy’s investment and provision of the club work environment,

Plaintiff would not have earned anything.


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      E.     Facts Establishing Opportunity for Profit and Loss.

      60.    Jimmy’s manages all aspects of the business operation, including but

not limited to attracting investors, maintaining the premises, establishing the hours

of operation, setting the atmosphere, coordinating advertising, hiring and controlling

the staff. Jimmy’s provides all necessary capital to open and operate the business.

      61.    Plaintiff had no responsibility for any aspect of Jimmy’s ongoing

business risk. Jimmy’s secures all financing, the acquisition and/or lease of the

physical facility and equipment, inventory, the payment of wages (for managers,

bartenders, doormen, and waitresses). Jimmy’s alone is responsible for securing all

necessary and appropriate insurance and licenses. Jimmy’s sets the minimum dance

tip and other tip amounts that should be collected from patrons, and establishes the

tip splitting policy for dances performed in the VIP rooms.

      F.     Facts Establishing Permanency.

      62.    Plaintiff worked fairly regularly at Jimmy’s, as alleged above.

      G.     Facts Establishing Plaintiffs are Integral Part of Employer’s
             Business.

      63.    Exotic dancers like Jimmy’s are critical to the success of Jimmy’s and

its very operation is wholly dependent on the existence of exotic dances being

provided by dancers for patrons.



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      64.      The primary “product” or “good” Jimmy’s is in business to sell consists

of dances performed by the exotic dancers. Other goods sold by Defendant include

drinks and food, which are served to patrons by waitresses, shot girls, and bartenders.

      65.      Plaintiff has been misclassified as an independent contractor and should

have been paid minimum wages at all times she worked.

      H.       Facts Establishing Defendant’s Acts were Willful.

      66.      All of the actions described herein were willful, intentional and not the

result of mistake or inadvertence.

      67.      Jimmy’s is aware that the FLSA applies to its business at all relevant

times and that under the economic realities test applicable to determining

employment status under those laws the dancers were misclassified as independent

contractors.

      68.      Jimmy’s was aware of and/or the subject of previous litigation and

enforcement actions relating to wage and hour law violations where the

misclassification of exotic dancers as independent contractors was challenged.

      69.      Exotic dancers working under conditions similar to those employed at

Jimmy’s have been determined to be employees under the wage and hour laws, not

independent contractors.




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      70.    Jimmy’s was aware, and had actual or constructive notice, that

applicable law rendered all tips given to class members by patrons when working

were Plaintiff’s sole property, rendering its tip-share, and tip-out scheme unlawful.

      71.    Despite this notice of their violations, Jimmy’s intentionally chose to

continue to misclassify dancers like Plaintiff, withhold payment of minimum wages

and require dancers to split their tips in an effort to enhance their profits. Such

conduct and agreements were intentional, unlawful, fraudulent, deceptive, unfair and

contrary to public policy.

      72.    Ms. Turner was employed by Jimmy’s Lounge as an exotic dancer off

and on from some time in 2011, until approximately March or April of 2019.

      73.    Ms. Turner was a named plaintiff in a collective action against Jimmy’s

styled Miller, et al. v. JAH, LLC, Civil Action No.: 5:16-cv-01543. That action was

brought on behalf of exotic dancers at Jimmy’s, and contained many of the same

allegations that this case does.

      74.    Ms. Turner, however, voluntarily dismissed her case after a meeting

with Jimmy’s management.           Her case was dismissed, without prejudice, on

November 17, 2017.

      75.    Ms. Turner continued to work at Jimmy’s as an exotic dancer.

      76.    The above-referenced lawsuit was settled by the remaining parties, after

the Court granted conditional certification.
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          77.   The settlement of the case was approved on May 28, 2018.

          78.   Ms. Turner continued to work at Jimmy’s, and was hopeful that the

lawsuit would change working conditions at the nightclub. Conditions changed very

little.

          79.   Ms. Turner still had to pay Jimmy’s $5.00 out of every $25.00 she

received for private dances. Ms. Turner continued to have to pay a tip-out every

time she worked at Jimmy’s of $25.00, although the amount varied. She also

continued to have to pay the disc jockey out of the money she collected for on stage

dances, and for private dances.

          80.   One thing that did change was that Ms. Turner and the other dancers

were told that they were going to be required to clock in, and that they were required

to work at lease six (6) hours for each shift.

          81.   Ms. Turner and the other dancers were also told that they would be paid

the tipped rate of $2.13 for each hour worked at the club. It would appear that

Jimmy’s was now taking the position that the dancers were employees, who were

tipped employees.

          82.   However, Ms. Turner did not receive her $2.13 per hour as a tipped

employee. Moreover, Jimmy’s confiscation of the tip-out, disc jockey, monies, and

$5.00 for each private dance is an unlawful confiscation of tips which under the law,

belong to Ms. Turner.
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                          V. INJURY AND DAMAGE

      83.    Plaintiff was harmed, and incurred damage and financial loss as a result

of Jimmy’s conduct complained of herein.

      84.    Plaintiff was entitled to minimum wages and to retain all of the private

dance tips and other tips she was given by patrons. By failing to pay Plaintiff

minimum wages and interfering with her right to retain all of the dance tips and other

tips she was given by patrons, Jimmy’s injured Plaintiff, causing her financial loss,

harm, injury and damage.

                           VII. CAUSES OF ACTION

                   COUNT I - VIOLATION OF THE FLSA
      (Failure to Pay Statutory Minimum Wages Against All Defendants)

      85.    Plaintiff hereby incorporates all of the preceding paragraphs as if fully

stated herein.

      86.    James and Michael Holt, as described above, because of the control

they exercised over Ms. Turner, are “employers” as that term is defined by 29 U.S.C.

§ 203(d), and are thus individually liable. Each claim under this Court is made

against the Holts, individually, as well as against MJTV, LLC.

      87.    This claim arises out of Defendant’s willful violation of the Fair Labor

Standards Acts, 29 U.S.C. Sec. 201, et seq., for failure to pay a minimum wage to

Plaintiff to which she was entitled.

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      88.    At all relevant times, Jimmy’s employed Plaintiff within the meaning

of the FLSA.

      89.    At all relevant times, Jimmy’s has been engaged in interstate commerce

and/or the production of goods for commerce, within the meaning of the FLSA, 29

U.S.C. § 201.

      90.    At all relevant times, Jimmy’s was an enterprise whose annual business

income was in excess of $500,000, pursuant to 29 U.S.C. § 203(5)(1)(A)(ii).

      91.    The minimum wage provisions of the FLSA, 29 U.S.C. 201 et seq.,

apply to Jimmy’s, and protect Plaintiff.

      92.    Pursuant to 29 U.S.C. § 206, Plaintiff was and is entitled to be

compensated at the rate of $7.25 per hour.

      93.    29 U.S.C. § 207(a) provides in pertinent part:

             ... no employer shall employ any of his employees who in
             any workweek is engaged in commerce or in the
             production of goods for commerce, or is employed in an
             enterprise engaged in commerce or in the production of
             goods for commerce for a workweek longer than forty
             hours unless such employee receives compensation for his
             employment in excess of the hours above specified at a
             rate of not less than one and one-half times the regular rate
             at which he is employed.

      94.    Jimmy’s failed to pay Plaintiff the minimum wage set forth in 29 U.S.C.

§ 206, or any wages whatsoever.


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      95.    Jimmy’s failed to pay Plaintiff a minimum wage throughout the

relevant time period because Jimmy’s intentionally misclassified her as an

independent contractor.

      96.    The amount paid to Plaintiff by patrons in relation to private dances or

other services performed were tips, not wages. Those tips were not the property of

Jimmy’s.

      97.    The private dance fees are paid directly to the dancers by customers,

not by Jimmy’s. Thus, they cannot be wages.

      98.    Courts have classified private dance fees paid by customers of erotic

dance clubs as either tips or service fees. In either case, Jimmy’s cannot confiscate

the private dance fees and they are due to be returned to Plaintiff. If the private

dance fees are considered tips, then Jimmy’s has no right to them because under the

FLSA an employer may not keep any portion of employees’ tips . . .” 29 U.S.C. §

203(m)(2)(B).

      99.    It could be argued that the private dance fees are service fees paid to

the establishment. However, in such a case, Jimmy’s still would not be able to retain

them, nor would it be able to claim such confiscated private dance fees as a credit

against its minimum wage obligation.

      100. In order to take the private dance fees as a credit, Jimmy’s would have

to actually pay Ms. Turner and the other dancers, and then it would have to have
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both included in private dance fees in the gross revenues of the company, and then

pay them out to the dancers. This was not done.

      101. As a result, under any circumstance the amounts paid to Plaintiff by

patrons in relation to private table dances cannot be used to offset Jimmy’s

obligation to pay Ms. Turner’s minimum wages due. See Hart v. Rick’s Cabaret,

Int’l, 2013 U.S. Dist Lexis 129130 (S.D.N.Y. Sept. 10, 2013) e.g., Reich v.

ABC/York-Estes Corp., 157 F.R.D. 668, 680 (N.D.Ill. 1994), rev’d on other

grounds, 64 F.3d 316 (7th Cir. 1995); Reich v. ABC/York-Estes Corp., 1997 WL

264379 at *5-7 (N.D.Ill. 1997).

      102. Further, no tip credit applies to reduce or offset any minimum wages

due. The FLSA only permits an employer to allocate an employee’s tips to satisfy a

portion of the statutory minimum wage requirement provided that the following

conditions are satisfied: (1) the employer must inform the tipped employees of the

provisions of § 3(m) of the FLSA, 29 U.S.C. § 203(m); and (2) tipped employees

must retain all the tips received except those tips included in a tipping pool among

employees who customarily receive tips. 29 U.S.C. § 203(m).

      103. Neither of these conditions was satisfied. Defendant did not inform Ms.

Turner of the provision of § 3(m) of the FLSA, 29 U.S.C. § 203(m), even after it

somewhat altered its policies; and Plaintiff did not retain all the tips received.


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      104. Jimmy’s did not notify Ms. Turner that her dance fees were being used

to reduce the minimum wages otherwise due under FLSA’s tip credit provisions and

that they were still due the reduced minimum wage for tipped employees because

Defendant maintained as a business strategy that Ms. Turner and the other dancers

were not due a minimum wage due to the classification as independent contractors.

      105. Jimmy’s requirement Ms. Turner and the other dancers split their tips,

and pay Defendant a portion of all dance tips and to pay a “tip-out” to other

employees who do not customarily receive tips, such as bouncers, managers and disc

jockeys was not part of a legally permissible or valid tip pooling or tip sharing

arrangement.

      106. Based on the foregoing, Plaintiff is entitled to the full statutory

minimum wages set forth in 29 U.S.C. §§ 206 and 207 for all periods in which

Plaintiff worked at Jimmy’s, along with all applicable penalties, liquidated damages,

and other relief.

      107. Jimmy’s conduct in misclassifying Plaintiff as an independent

contractor was intentional and willful and done to avoid paying minimum wages and

the other benefits that Plaintiff was legally entitled to receive.

      108. Plaintiff seeks damages in the amount of her unpaid wages, liquidated

damages as provided by 29 U.S.C. § 216(b), interest, and such other legal and

equitable relief as the Court deems proper.
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      109. 12 U.S.C. § 211(c) provides in pertinent part:

            ( c)   Records

            Every employer subject to any provision of this chapter or
            of any order issued under this chapter shall make, keep,
            and preserve such records of the persons employed by him
            and of the wages, hours, and other conditions and practices
            of employment maintained by him, and shall preserve such
            records for such periods of time, and shall make such
            reports therefrom to the Administrator as he shall
            prescribe by regulation or order as necessary or
            appropriate for the enforcement of the provisions of this
            chapter or the regulations or orders thereunder.

      110. 29 C.F.R. § 516.2 and 29 C.F.R. § 825.500 further require that every

employer shall maintain and preserve payroll or other records containing, without

limitation, the total hours worked by each employee each workday and total hours

worked by each employee each workweek.

      111. To the extent Jimmy’s failed to maintain all records required by the

aforementioned statutes and regulations, and failed to furnish Plaintiff

comprehensive statements showing the hours that they worked during the relevant

time period, it also violated the aforementioned laws causing Plaintiff’s damages.

      112. When the employer fails to keep accurate records of the hours worked

by its employees, the rule in Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680,

687-688 66 St.Ct. 1187 (1946) is controlling. That rule states:

            ...where the employer’s records are inaccurate or
            inadequate ... an employee has carried out his burden if he
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             proves that he has in fact performed work for which he
             was improperly compensated and if he produces sufficient
             evidence to show the amount and extent of that work as a
             matter of just and reasonable inference. The burden then
             shifts to the employer to come forward with the evidence
             of the precise amount of work performed or with evidence
             to negative the reasonableness of the inference to be drawn
             from the employee’s evidence. If the employer fails to
             produce such evidence, the court may then award damages
             to the employee, even though the result be only
             approximate.

      113. The Supreme Court set forth this test to avoid placing a premium on an

employer’s failure to keep proper records in conformity with its statutory duty,

thereby allowing the employer to reap the benefits of the employees’ labors without

proper compensation as required by the FLSA. Where damages are awarded

pursuant to this test, “[t]he employer cannot be heard to complain that the damages

lack the exactness and precision of measurement that would be possible had he kept

records in accordance with ... the Act.” Id.

      114. Based on the foregoing, Plaintiff seeks unpaid minimum wages at the

required legal rate for all working hours during the relevant time period, back pay,

restitution, damages, reimbursement of any base rent and tip-splits, liquidated

damages, prejudgment interest calculated at the highest legal rate, attorneys’ fees

and costs, and all other costs, penalties and other relief allowed by law.




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                          RELIEF REQUESTED

WHEREFORE, Plaintiff, prays for an order for relief as follows:

a.       That Jimmy’s be found liable to Plaintiff;

b.       For a declaration that Jimmy’s violated the rights of Plaintiff
         under applicable law;

c.       For nominal damages;

d.       For compensatory and actual damages;

e.       For restitution of all monies due Plaintiff and disgorged profits
         from the unlawful business practices of Defendant;

f.       For all back pay, unpaid wages, and a refund of all tips, “rent”,
         tip-outs, fines and other amounts paid by Plaintiff;

g.       For all statutory damages, liquidated damages, civil penalties,
         and/or other relief allowed by federal wage and hour statutes and
         regulations and/or other laws;

h.       For accrued interest;

i.       For costs of suit and expenses incurred herein, including
         reasonable attorneys’ fees allowed under any relevant provision
         of law or equity, including the FLSA; and

j.       For any and all other relief that the Court may deem just, proper
         and equitable in the circumstances.

                             JURY DEMAND

         Plaintiff reserves her right to and hereby requests a trial by jury.




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                                     Respectfully submitted,

                                     /s/ Brian M. Clark
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